                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 2:11-00002
                                                  )      Judge Trauger
[22] MARCIA BERNICE PRESS                         )

                                         ORDER

       It is hereby ORDERED that a hearing shall be held on January 16, 2013 at 11:00 a.m. on

the Petition to Revoke Supervision (Docket No. 1352).

       It is so ORDERED.

       ENTER this 8th day of January 2013.



                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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